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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

                                   6

                                   7     UNITED STATES OF AMERICA,                           Case No. 22-cr-00105-BLF-1
                                   8                    Plaintiff,
                                                                                             ORDER ADMONISHING UNITED
                                   9              v.                                         STATES FOR NONCOMPLIANCE
                                                                                             WITH STANDING ORDERS
                                  10     SCOTT SHAW,
                                                                                             [Re: ECF No. 32]
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On October 3, 2022, the United States filed an opposition to Defendant’s motion to dismiss

                                  14   the above-captioned case. See ECF No. 32. The Court hereby ADMONISHES the United States

                                  15   for failing to comply with the Court’s Standing Orders. See Civil Standing Order § IV.F (“Footnotes

                                  16   shall be no less than 12-point type and shall be double-spaced. Footnotes shall not be used to cite

                                  17   to legal authorities or evidence.”). The Court will strike any future briefs that fail to conform to the

                                  18   Court’s Standing Orders.

                                  19          IT IS SO ORDERED.

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                                  21   Dated: October 4, 2022

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                                                                                         BETH LABSON FREEMAN
                                  23                                                     United States District Judge
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